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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
CHARLES W. JONES, 12 Civ. 4051 (JS) (GRB)

Plaintiff, ATTORNEY DECLARATION

IN SUPPORT OF DEFENDANTS’

-against-
MOTION FOR SUMMARY JUDGMENT

BAY SHORE UNION FREE SCHOOL DISTRICT;
PETER J. DION, Individually and as Superintendent of
the Bay Shore Union Free School District; EVELYN
BLOISE HOLMAN, Individually and as the former
Superintendent of the Bay Shore Union Free School
District; and ROBERT PASHKEN, Individually and as
Principal of Bay Shore High School.

Defendants.
x

STEVEN C. STERN, an attorney duly admitted to practice law in the Courts of the State
of New York, hereby affirms, under penalty of perjury, the following:

1. I am a partner of the law firm of SOKOLOFF STERN LLP, attorneys for
defendants in the above-captioned action.

2. I submit this Declaration in connection with defendants’ motion for summary
judgment pursuant to Fed. R. Civ. P. 56.

3. The attached exhibits are relevant to defendants’ motion. The exhibits are true
and accurate copies of what they purport to be.

4, Annexed hereto as Exhibit A is a copy of Plaintiffs Second Amended Complaint,
dated December 18, 2012, and filed on May 28, 2013.

5. Annexed hereto as Exhibit B is a copy of Defendants’ Answer to the Second

Amended Complaint, dated and filed on June 25, 2013.
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6. Annexed hereto as Exhibit C is a copy of the Court’s Decision and Order, dated
May 28, 2013.

7. Annexed hereto as Exhibit D is the transcript of the August 13, 2014 and August
15, 2013 deposition of plaintiff Charles W. Jones.

8. Annexed hereto as Exhibit E is the transcript of the July 30, 2014 deposition of
defendant Dr. Evelyn B. Holman.

9. Annexed hereto as Exhibit F is the transcript of the July 30, 2014 deposition of
defendant Peter Dion.

10. Annexed hereto as Exhibit G is the transcript of the August 7, 2014 deposition of
defendant Robert Pashkin.

11. Annexed hereto as Exhibit H is the transcript of the August 7, 2014 deposition of
non-party Denise Watford.

12. Annexed hereto as Exhibit I is the transcript of the August 27, 2014 deposition of
non-party James McGowan.

13. Annexed hereto as Exhibit J is the transcript of the September 26, 2014
deposition of non-party Sharon Daniels.

14. Annexed hereto as Exhibit K is the transcript of the September 26, 2014
deposition of non-party Damalii Jones.

15. Annexed hereto as Exhibit L are excerpts from the October 14 and October 23,
2014 transcripts of the deposition of non-party Guy Patrick.

16. | Annexed hereto as Exhibit M is a copy of documents contained in Bay Shore

Union Free School District file of correspondence and statements relating to the investigation
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underlying plaintiff's disciplinary matter, bearing page numbers Bay Shore 00002 through
00060. . + eee

17. Annexed hereto as Exhibit N is a copy of a letter from Superintendent Gene L.
Schmidt to plaintiff, dated May 1, 1985, bearing page number Bay Shore 00286.

18. Annexed hereto collectively as Exhibit O is a copy of a letter from the District
Clerk to plaintiff dated May 7, 1985 bearing page number Bay Shore 00473, and Notice of
Charges and Hearing, bearing page numbers Bay Shore 00474 through 00477.

19, Annexed hereto as Exhibit P is a copy of the transcript of the stipulation regarding
plaintiff's misconduct, dated November 15, 1985, bearing page numbers Bay Shore 00479
through 00495.

20. Annexed hereto as Exhibit Q is a copy of the memo from James McGowan to Dr.
Evelyn Holman, dated January 23, 1998, bearing page number Bay Shore 00497.

21. | Annexed hereto as Exhibit R is a copy of a letter from Lawrence F. Spirn to
plaintiff, dated January 23, 1998, bearing page number Bay Shore 00287.

22.  Annexed hereto as Exhibit S is a copy of a letter from the State Education
Department/The University of the State of New York to Lawrence F. Spirn, dated, June 15,
1998, bearing page number Bay Shore 00370.

23.  Annexed hereto as Exhibit T is a copy of a letter from Lawrence F. Spirn to
plaintiff, dated January 11, 2000, bearing page number Bay Shore 00292.

24.  Annexed hereto as Exhibit U is a copy of the Notice of Substantial Question as to
Moral Character from the University of the State of New York Education Department, dated July

28, 2000, bearing page number Bay Shore 00089.
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25. Annexed hereto as Exhibit V is a certified copy of the transcript of plaintiffs
State Education Department hearing, dated February 15, 2001, bearing page numbers Bay Shore
00090 through 00175.

26. Annexed hereto as Exhibit W is a copy of the decision on plaintiff's appeal of the
findings and recommendation of the University of the State of New York Education Department,
dated March 1, 2002, bearing page numbers Bay Shore 00547 through 00556.

27. Annexed hereto as Exhibit X is a copy of printout reflecting that plaintiff's school
social worker licenses were revoked, dated March 23, 2010, bearing page number Bay Shore
00616.

28.  Annexed hereto as Exhibit Y is a copy of a letter from Lawrence F. Spirn to
plaintiff, dated February 13, 2008, bearing page number Bay Shore 00318.

29. Annexed hereto as Exhibit Z is a copy of a letter from Evelyn Holman to plaintiff,
dated November 19, 2009, bearing page number Bay Shore 00326.

30. Annexed hereto as Exhibit AA is a copy of a letter from plaintiff to Evelyn
Holman, dated December 7, 2009, bearing page number Bay Shore 00327.

31. Annexed hereto as Exhibit BB is a copy of a letter from Evelyn Holman to
plaintiff, dated December 14, 2009, bearing page number Bay Shore 00328.

32. Annexed hereto as Exhibit CC is a copy of a letter from plaintiff to Evelyn
Holman, dated December 17, 2009, bearing page number Bay Shore 00329.

33. Annexed hereto as Exhibit DD is a copy of a letter from Evelyn Holman to

plaintiff, dated December 18, 2009, bearing page number Bay Shore 00330.
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34. | Annexed hereto as Exhibit EE is a certified copy of the General Municipal Law §
50-h hearing transcript of plaintiff Charles W. Jones, dated May 21, 2012, bearing page numbers
Bay Shore 00239 through Bay Shore 00283.

35. Annexed hereto as Exhibit FF is a copy of the Agenda of the Bay Shore —
Brightwaters Multi-Cultural Committee, dated February 1, 2012, bearing page number Bay
Shore 00238.

36. | Annexed hereto as Exhibit GG is a copy of a letter from Superintendent Peter
Dion to plaintiff, dated December 8, 2011, bearing page number Bay Shore 00340.

37.  Annexed hereto as Exhibit HH is a copy of an email from plaintiff to Peter Dion,
dated December 14, 2011, bearing page numbers Bay Shore 00343 through 00344.

38. Annexed hereto as Exhibit II is a copy of a letter from Peter Dion to plaintiff,
dated December 14, 2011, bearing page number Bay Shore 00342.

39. | Annexed hereto as Exhibit JJ is a copy of an email from plaintiff to Peter Dion,
dated December 14, 2011, bearing page number Bay Shore 00345.

40. Annexed hereto as Exhibit KK is a copy of a letter from Peter Dion to plaintiff,
dated December 16, 2011, bearing page numbers Bay Shore 00348 through 00349.

41. Annexed hereto as Exhibit LL is a copy of a letter from Peter Dion to plaintiff,
dated February 13, 2012, bearing page number Bay Shore 00367.

42. | Annexed hereto as Exhibit MM is a copy of a Proclamation from County
Executive Steven Bellone to Superintendent Peter Dion for his work in support of the principles
and goals of Dr. Martin Luther King, Jr., dated January 18, 2013, bearing page number Bay

Shore 00662.
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43. Annexed hereto as Exhibit NN is a disc containing surveillance video from

“Gomez’s,” dated February. 16, 2012... -..
44.  Annexed hereto as Exhibit OO is a copy of the statements from students
eoucemiiis an incident that took place on February 16, 2012, bearing page numbers Bay Shore
00501 through 00505.
45. Annexed hereto as Exhibit PP is a copy of the Civilian Arrest Form for Damalii
Jones, dated February 16, 2012, bearing page number Bay Shore 00506.
46. Annexed hereto as Exhibit QQ is a copy of a memorandum from Denise Watford
to Dr. Maloney, dated February 27, 2012, bearing page number Bay Shore 00500.
47. Annexed hereto as Exhibit RR is a copy of the Bay Shore Schools Code of
Conduct for the 2011/2012 school year, bearing page numbers Bay Shore 00573 through 00576.
48. Annexed hereto as Exhibit SS is a copy of the Agreement Resolving Disciplinary
Proceeding relating to Damalii Jones, dated March 6, 2012, bearing page numbers P0002
through P0004.
49. Annexed hereto as Exhibit TT is a copy of the decision of the United States
Department of Education Office for Civil Rights, dated August 29, 2012, bearing page numbers
Bay Shore 00566 through 00572.
50. Annexed hereto as Exhibit UU is a copy of the Bay Shore Union Free School
District’s Policy 1240, “Visitors to the Schools,” and the related regulation 1240-R, bearing page
numbers Bay Shore 00609 and 00610.

51. Annexed hereto as Exhibit VV is the affidavit of Dr. Evelyn Holman, dated

January 8, 2015.
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52.  Annexed hereto as Exhibit WW is the affidavit of non-party James McGowan,

dated January 8, 2015.

53.  Annexed hereto as Exhibit XX is the affidavit of Tracy Lagudi Cannon, dated

January 8, 2015.

54.  Annexed hereto as Exhibit YY is the affidavit of Nadine Summers, dated January

9, 2015.

Dated: Carle Place, New York oe
January 9, 2015 <— L € a
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Steven C. Stern

SOKOLOFF STERN LLP
Attorneys for Defendants

179 Westbury Avenue

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File No.: 120001

